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A0245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                           Eastern District of Arkansas          JAMESW.
                                                                                                 By: _ _~lf--'4~-T+=~=
          UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                              v.                                          (For Revocation of Probation or Supervised Release)
                  LAVAR FAULKNER

                                                                          Case No. 4:08-CR-00332-02-JM
                                                                          USM No. 25294-009
                                                                           Molly K. Sullivan
                                                                                                  Defendant's Attorney
THE DEFENDANT:
r3{ admitted guilt to violation of condition(s)          General, Standard, Special       of the term of supervision.
D   was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                             Nature of Violation                                 Violation Ended
General                            Unlawful possession and use of a controlled substance.                      07/14/2014

Standard (7)                       Failure to refrain from excessive use of alcohol                            07/14/2014
Special (1)                        Failure to participate in a substance abuse treatment program               10/17/2014

Standard (2)                       Failure to submit truthful and complete report                              06/05/2014
       The defendant is sentenced as provided in pages 2 through _ _4'---_of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this distric ithin 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special sses ents imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United St tes atto ey of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9957

Defendant's Year of Birth:           1977

City and State of Defendant's Residence:
Little Rock, Arkansas
                                                                                                                        U.S. District Judge




                                                                                                          Date
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AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment
                                                                                                 Judgment- Page _ _,2.....__ of   4
DEFENDANT: LAVAR FAULKNER
CASE NUMBER: 4:08-CR-00332-02-JM


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :




   0      The court makes the following recommendations to the Bureau of Prisons:




   0      The defendant is remanded to the custody of the United States Marshal.

   0      The defendant shall surrender to the United States Marshal for this district:
          0     at  - - - - - - - - - 0 a.m.                        0    p.m.    on
          0     as notified by the United States Marshal.

   0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0     before 2 p.m. on
          0     as notified by the United States Marshal.
          0     as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                      to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                                By
                                                                                           DEPUTY UNITED STATES MARSHAL
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  AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                    Judgment-Page      3    of          4
  DEFENDANT: LAVAR FAULKNER
  CASE NUMBER: 4:08-CR-00332-02-JM
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
ONE (1) YEAR



          The defendant must re~rt to the probation office in the district to which the defendant is released within 72 hours of release
 from the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully ~ssess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
 tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  t/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  t/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this jud~ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                             STANDARD CONDffiONS OF SUPERVISION

  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted penmssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
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 AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3A- Supervised Release
                                                                                        Judgment-Page   _4_ of        4
 DEFENDANT: LAVAR FAULKNER
 CASE NUMBER: 4:08-CR-00332-02-JM

                                         ADDITIONAL SUPERVISED RELEASE TERMS

1) Defendant shall participate in the Location Monitoring Program for a period of three (3) months. During this time,
defendant will remain at his place of residence at specific times to be determined by his probation officer. At the direction
of his probation officer, defendant shall wear an electronic monitoring device and follow electronic procedures specified by
the probation officer. Costs associated with the elctronic monitoring will be paid by the government. Defendant shall be on
home detention and restricted to his residence at all times except for employment, education, court-ordered obligations, or
other activities as pre-approved by the probation officer.
